- - Case 3:24-cv-00101-KHJ-MTP Document 1-2 Filed 02/20/24 Page 1 of 7.

:
t

1

i

Eker 20+
Case 3:24-cv-00101-KHJ-MTP Document 1-2 Filed 02/20/24 Page 2 of 7

Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 01997892
Dept. of Justice / Federal Bureau of Prisons Team Date: 12-14-2023
Plan is for inmate: VORESS, JOSHUA LEE 73279-112
Facility: YAZ YAZOO CITY FCI Proj. Rel. Date: 05-26-2026
Name: VORESS, JOSHUA LEE Proj. Rel. Mthd: FSRDAP CND
Register No.. 73279-1112 DNA Status: LOS08289 / 03-21-2016
Age: 47
Date of Birth: 05-22-1976

Detainers
[Detaining Agency Remarks |
NO DETAINER
Current Work Assignments
|Facl Assignment Description Start |
YAZ COMPD WKPM WEEKEND COMPOUND AM 07-18-2022
Current Education Information
|Facl Assignment Description Start
YAZ ESL HAS ENGLISH PROFICIENT 07-08-2017
YAZ GED HAS COMPLETED GED OR HS DIPLOMA 07-08-2017
Education Courses
|SubFac! Action Description Start Stop
YAZ c RESIDENTIAL DRUG - CURRY 03-13-2023 12-06-2023
MENSCP C ACE: FIRST IMPRESSIONS - TIPS 02-23-2022 02-23-2022
MENSCP C ACE: B. HAMILTON- SHARK ATTACK 02-17-2022 02-17-2022
MENSCP C ACE: GIVE/RECEIVE CRITISIM 01-28-2022 01-28-2022
MENSCP C ACE: INDEPENDENT CANDIDATES 01-11-2022 01-11-2022
MENSCP C ACE: JAKARTA, INDONESIA 02-23-2022 02-23-2022
MENSCP C ACE: AIR AND WATER POLLUTION 01-21-2022 01-21-2022
MENSCP C ACE: CHRISTMAS TRUCE OF 1914 12-21-2021 12-21-2021
MENSCP ¢C WEST HILLS COMMUNITY COLLEGE 08-18-2021 02-08-2022
MENSCP C ACE: BODIE - A GHOST TOWN 11-10-2021 11-10-2024
MENSCP C ACE:BATTLE LEXINGTON & CONCORD 41-02-2021 11-02-2021
MENSCP C ACE:MENTAL HEALTH COPING TECH. 40-01-2021 40-01-2021
MENSCP C ACE:DOG TRAINING IN CORRECTION 40-01-2021 10-01-2021
MENSCP C ACE: THE LAST DAYS OF SOLITARY 07-22-2021 07-22-2021
MENSCP C ACE: PARENT FROM PRISON 07-17-2021 07-17-2021
MENSCP C COASTLINE COMMUNITY COLLEGE 01-29-2021 08-18-2021
MENSCP C ACE: THE STORY OF BRUCE LEE 06-17-2021 06-17-2021
MENSCP C ACE: HISTORY OF FANTASY SPORTS 07-15-2021 07-15-2021
MENSCP C ACE: IRAN-CONTRA AFFAIR 07-10-2021 07-10-2021
MENSCP C ACE: JUNETEENTH 06-17-2021 06-17-2021
MENSCP C ACE: CALIFORNIA'S WATER 07-01-2021 07-01-2021
MENSCP C ACE: DARE TO DREAM 06-03-2021 06-03-2021
MENSCP C ACE: MCCAIN - VIETNAM TO DC 06-10-2021 06-10-2021
MEN SCP C ACE: NORTH KOREA 06-24-2021 08-24-2021
MENSCP C WELLNESS: TACKLING DIABETES 07-22-2021 08-13-2021
MENSCP C WEST HILLS COMMUNITY COLLEGE 04-28-2021 08-10-2021
MENSCP C ADVANCED CERAMICS 01-21-2021 03-12-2021
MENSCP C ACE: THE HISTORY OF MOSUL 05-25-2021 05-25-2021
MENSCP C ACE: THE LIFE OF MUHAMMAD 05-18-2021 05-18-2021
MENSCP C ACE: CHRIS HERREN - UNGUARDED 05-20-2021 05-20-2021
MENSCP C ACE: BEN FRANKLIN'S BALLOONS 05-13-2021 05-13-2021
MENSCP C ACE:JOHNNY CASH - MAN IN BLACK 05-27-2021 05-27-2021
MENSCP C ACE: BILLIE HOLIDAY 04-20-2021 04-20-2021
MENSCP C ACE:THE IMPACT OF SOCIAL MEDIA 04-12-2021 04-12-2021
MENSCP C ACE: THE MADOFF AFFAIR 04-22-2021 04-22-2021
MENSCP C ACE: MISTER ROGERS & ME 04-08-2021 04-08-2021
MENSCP C ACE: FLYING CHEAP 04-15-2021 04-15-2021

Archived as of 12-14-2023 Individualized Needs Plan - Program Review (Inmate Copy) Page 1 of 6
Case 3:24-cv-00101-KHJ-MTP Document 1-2 Filed 02/20/24 Page 3 of 7

Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 01997892
Dept. of Justice / Federal Bureau of Prisons Team Date: 12-14-2023
Plan is for inmate: VORESS, JOSHUA LEE 73279-112

[SubFac! Action Description Start Stop

MENSCP C ACE: SECRETS OF THE TITANIC 04-01-2021 04-01-2021
MENSCP C ACE: BORN TO BE WILD 03-30-2021 03-30-2021
MENSCP CG ACE: SECRET YOSEMITE 04-13-2021 04-13-2021
MENSCP C AGE: THE COLD WAR- SUEZ CRISIS 03-29-2021 03-29-2021
MENSCP GC WELLNESS: ARE YOU OK? 04-28-2021 05-05-2021
MENSCP C ACE: INSIDE THE WHITE HOUSE 03-25-2021 03-28-2024
MENSCP C ACE: CAN | EAT THAT? 03-02-2021 03-02-2021
MEN SCP GC ACE: CALIFORNIA MISSIONS 03-16-2021 03-16-2021
MENSCP C ACE: WHERE'S AMELIA EARHART 03-09-2021 03-09-2021
MENSCP C ACE: MIRACLE - USA HOCKEY 03-18-2021 03-18-2021
MENSCP C WELLNESS: INFLUENZA 1918 03-30-2021 04-08-2021
MENSCP C WELLNESS: UNDERSTANDING SLEEP 03-24-2021 04-08-2021
MENSCP C ACE: WHAT IS RESILIENCE? 02-01-2021 02-01-2021
MENSCP C ACE: WHEN WHALES WALKED 02-04-2021 02-04-2021
MENSCP C ACE: ENEMIES - LIONS VS HYENAS 02-25-2021 02-28-2021
MENSCP C ACE: WILLIAM RANDOLPH HEARST 02-18-2021 02-18-2021
MENSCP C ACE: AMERICAN GENIUS 02-11-2021 02-11-2021
MENSCP C ACE: EGYPT'S GOLDEN EMPIRE 02-23-2021 02-23-2021
MEN SCP C ACE: SECRETS OF ALTHORP 02-02-2021 02-02-2021
MENSCP C ACE:GENIUS-STEPHEN HAWKING PT2 02-11-2024 02-11-2021
MENSCP C ACE: "| HAVE A DREAM" - MLK 02-18-2021 02-18-2021
MENSCP C ACE: MLK NATIONAL MEMORIAL 02-07-2021 02-07-2021
MENSCP C WELLNESS RESOURCES - DIABETES 01-24-2021 02-21-2021
MENSCP Cc COASTLINE COMMUNITY COLLEGE 01-27-2020 05-23-2020
MENSCP C ACE: AMAZON EMPIRE: JEFF BEZOS 01-19-2021 01-19-2021
MENSCP GC ACE: FRIDA KAHLO 01-12-2021 01-12-2021
MENSCP ¢ ACE: WHY PLANES VANISH 01-14-2021 01-14-2021
MENSCP C ‘ACE: WHY TRAINS CRASH 12-17-2020 12-17-2020
MENSCP C ACE: CITY IN THE SKY 12-15-2020 12-15-2020
MENSCP C ACE: WHAT'S WITH WHEAT 01-05-2021 01-05-2021
MENSCP C ACE: PEARL HARBOR 01-07-2021 01-07-2021
MENSCP CG ACE: FLYING SUPERSONIC 01-21-2021 01-21-2021
MENSCP C BEGINNERS CERAMICS 11-07-2020 12-26-2020
MENSCP C ACE: STATUE OF LIBERTY 11-19-2020 41-19-2020
MENSCP C ACE: KYOTO 11-24-2020 11-24-2020
MENSCP C ACE: ENTREPRENEUR - RISK 12-03-2020 12-03-2020
MENSCP C ACE:LIFE OF JUSTICE GINSBURG 10-15-2020 10-15-2020
MENSCP C ACE: ROME RULED- BIRTH OF ROME 11-06-2020 41-06-2020
MENSCP C ACE: SMARTPHONE GENERATION 11-19-2020 41-19-2020
MENSCP CGC RPP CAT #8:WHAT IS YOUR IKIGA? 11-05-2020 11-05-2020
MENSCP C ACE: JUST EAT IT 11-06-2020 41-06-2020
MENSCP C ACE: ICEMAN REBORN 10-08-2020 10-08-2020
MENSCP CGC ACE: THE HUMAN FOOTPRINT 10-08-2020 12-08-2020
MENSCP CGC ACE: CAN | EAT THAT? 10-08-2020 12-01-2020
MENSCP C ACE:THE GREAT OIL SPILL 10-08-2020 11-17-2020
MENSCP C ACE:ANCIENT MYTHS & MYSTERIES 09-04-2020 10-14-2020
MENSCP C ACE:THEORY OF PLATE TECHTONICS 10-02-2020 10-02-2020
MENSCP C ACE: MOLECULES - NUCLEIC ACIDS 09-04-2020 10-13-2020
MENSCP C ACE: HOW TO HAVE AN OPINION 09-04-2020 09-04-2020
MENSCP C ACE:BIOLOGICAL MOLECULES:CARBS 09-04-2020 10-07-2020
MENSCP C ACE: RISE AND RISE OF BITCOIN 09-04-2020 09-04-2020
MEN SCP C ACE: IMPORTANCE OF ACCOUNTING 07-02-2020 10-07-2020
MENSCP C ACE:AMERICA'S COVID RESPONSE 06-26-2020 08-04-2020
MENSCP CGC RPP C6: A HERO'S JOURNEY 07-24-2020 08-04-2020
MEN SCP C RPP C3: MONEY MANAGEMENT 06-04-2020 08-04-2020
MENSCP C RPP#3:PROTECT YOUR FINANCES 07-02-2020 08-04-2020
MENSCP CGC RPP C3:CREDIT/YOUR ADVANTAGE 07-24-2020 08-04-2020

Archived as of 12-14-2023 Individualized Needs Plan - Program Review (Inmate Copy) Page 2 of 6
Case 3:24-cv-00101-KHJ-MTP Document 1-2 Filed 02/20/24 Page 4 of 7

Individualized Needs Plan - Program Review

Plan is for inmate: VORESS, JOSHUA LEE 73279-112

(Inmate Copy)

Dept. of Justice / Federal Bureau of Prisons

SEQUENCE: 01997892
Team Date: 12-14-2023

[SubFac! Action

Description Start Stop
MENSCP C RPP C3: BASICS OF BANKING 06-18-2020 06-25-2020
MENSCP CG ACE: MOSQUITOS AND PEOPLE? 07-24-2020 07-24-2020
MENSCP C ACE:DEVICES TO PROTECT FORESTS 06-18-2020 08-18-2020
MENSCP C WELLNESS: REDUCING GERMS 05-08-2020 07-20-2020
MENSCP C RPP C1: HEALTHY MIND AND BODY 05-29-2020 07-20-2020
MENSCP C ACE: CO2 WARMING OUR PLANET 06-03-2020 08-17-2020
MENSCP C ACE: THE "ALLEE EFFECT 06-04-2020 08-15-2020
MENSCP C ACE: COVID-19 AND US ECONOMY 05-01-2020 05-27-2020
MEN Cc COASTLINE COMMUNITY COLLEGE 01-27-2020 05-23-2020
MENSCP C ACE: ONE BAD TWEET - ATHLETICS 05-19-2020 05-19-2020
MENSCP C ACE: HORSES 04-21-2020 04-21-2020
MENSCP C ACE: HOW TO PROTECT WKRS COVID 04-20-2020 04-20-2020
MENSCP Cc ACE: ARLINGTON:CALL TO HONOR 04-17-2020 04-17-2020
MENSCP C ACE: SECRETS OF SELFRIDGES 04-15-2020 04-15-2020
MENSCP C RPP#6 SHU PATH TO SUCCESS 04-13-2020 04-13-2020
MEN SCP C ACE: INSIDE THE MEGAFIRE 04-10-2020 04-10-2020
MENSCP C ACE: NAT GEO FREE SOLO 04-08-2020 04-08-2020
MENSCP C ACE:INCREDIBLE HUMAN MACHINE 04-02-2020 04-07-2020
MENSCP C BASICS OF MANUFACTURING 03-19-2020 03-19-2020
MENSCP C ACE: MAYA ANGELOU-STILL | RISE 03-18-2020 03-18-2020
MENSCP C ACE:TESLA-VISIONARY OR MADMAN? 02-25-2020 02-25-2020
MENSCP C ACE: SECRETS OF VIKING SWORD 02-12-2020 02-12-2020
MENSCP Cc ACE:CONQUISTADORS, AZTEC, INCA 02-04-2020 02-04-2020
MENSCP C ACE: THE SIXTIES 11-19-2019 01-21-2020
MENSCP C RPP#4 US PROBATION 10-22-2019 01-16-2020
MENSCP C WEST HILLS COMMUNITY COLLEGE 09-18-2019 01-13-2020
MENSCP C PARENTING ENGLISH 10-18-2019 01-03-2020
MENSCP C STARTING YOUR OWN BUSINESS 12-18-2019 01-03-2020
MENSCP C THINKING ON YOUR FEET 12-04-2019 12-18-2019
MEN c COASTLINE COMMUNITY COLLEGE 08-23-2019 12-14-2019
MENSCP C BEGINNER ACCOUSTIC GUITAR 10-01-2019 11-26-2019
MENSCP C FINANCIAL STATEMENTS 11-20-2019 12-04-2019
MENSCP C COMMUNITY RESOURCES (C4) 03-28-2019 07-11-2019
MENSCP C INTERVIEW 03-28-2019 07-11-2019
MENSCP C US PROBATION ORIENTATION 03-28-2019 07-11-2019
MEN SCP C JOB SEARCH 03-28-2019 07-11-2019
MENSCP C RESUME WRITING 03-28-2019 07-11-2019
MENSCP C RPP READY-TO-WORK (C4) 03-28-2019 07-11-2019
MENSCP C JOB FAIR 03-28-2019 07-11-2019
TRM c FILM PRODUCTION 02-01-2018 03-29-2018
TRM c DOWNTON ABBEY: SEASON TWO 02-02-2018 03-03-2018
TRM c RPP UNDERSTAND DEPRESSION (C1) 10-24-2018 41-17-2018
TRM c RPP FINANCIAL PLANNING (C3) 10-31-2017 12-13-2017
TRM c RPP VICTIM IMPACT PANEL (C6) 11-16-2017 01-03-2018
TRM Cc RPP SCIENCE OF NUTRITION (C1) 09-26-2017 12-11-2017
TRM c CHINESE CHARIOT REVEALED 11-22-2017 11-23-2017
TRM Cc THE MEGAFALLS OF IGUACO 11-23-2017 41-24-2017
TRM c BUS. WRITING FOR SUCCESS (C6) 08-21-2017 11-09-2017
TRM c RPP FINANCIAL PEACE (C3) 09-22-2017 11-17-2017
TRM c RPP BEGINNING REAL ESTATE (C3) 10-06-2017 11-10-2017
TRM c INTRODUCTION TO LEGAL CONCEPTS 08-17-2017 09-19-2017
TRM c COMMUNITY RESOURCE FAIR (C4) 09-01-2017 09-15-2017
TRM c SECRETS OF STONEHENGE 08-07-2017 08-11-2017

Discipline History (Last 6 months)

[Hearing Date

Prohibited Acts

J

** NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **

Archived as of 12-14-2023

Individualized Needs Plan - Program Review (Inmate Copy)

Page 3 of 6
Case 3:24-cv-00101-KHJ-MTP Document 1-2 Filed 02/20/24 Page 5 of 7

Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 01997892
Dept. of Justice / Federal Bureau of Prisons Team Date: 12-14-2023
Plan is for inmate: VORESS, JOSHUA LEE 73279-112
Current Care Assignments
[Assignment Description Start
CARE1 HEALTHY OR SIMPLE CHRONIC CARE 08-08-2017
CARE1-MH CARE1-MENTAL HEALTH 07-07-2017
Current Medical Duty Status Assignments
(Assignment Description Start
C19-T NEG COVID-19 TEST-RESULTS NEGATIVE 05-19-2022
NO PAPER NO PAPER MEDICAL RECORD 03-22-2016
REG DUTY NO MEDICAL RESTR-REGULAR DUTY 08-08-2017
YES F/S CLEARED FOR FOOD SERVICE 08-08-2017
Current Drug Assignments
[Assignment Description Start
DAP COMP RES DRUG TRMT COMP/TRANS REQD 12-06-2023
ED COMP DRUG EDUCATION COMPLETE 05-18-2018
ELIGIBLE 18 USC 3621 RELEASE ELIGIBLE 04-25-2023
FOL PART FOLLOWUP SERVICES PARTICIPANT 12-06-2023
NR COMP NRES DRUG TMT/COMPLETE 11-21-2019
FRP Payment Plan

[Most Recent Payment Plan

FRP Assignment: COMPLT FINANC RESP-COMPLETED

Start: 07-08-2021

Inmate Decision; AGREED $133.20 Frequency: SINGLE

Payments past 6 months: $0.00 Obligation Balance: $0.00

Financial Obligations

[No. Type Amount Balance Payable Status

4 ASSMT $200.00 $0.00 IMMEDIATE COMPLETEDZ
** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

2 FINE $1,000.00 $0.00 IMMEDIATE COMPLETEDZ

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

FRP Deposits

Trust Fund Deposits - Past 6 months: $N/A

New Payment Plan: ** No data ™*

Payments commensurate ? N/A

Current FSA Assignments

[Assignment Description Start

FTC ELIG FTC-ELIGIBLE - REVIEWED 08-31-2020
N-ANGER N NEED - ANGER/HOSTILITY NO 12-12-2023
N-ANTISO N NEED - ANTISOCIAL PEERS NO 12-12-2023
N-COGNTV N NEED - COGNITIONS NO 12-12-2023
N-DYSLEX N NEED - DYSLEXIA NO 05-30-2021
N-EDUC N NEED - EDUCATION NO 42-12-2023
N-FIN PVN NEED - FINANCE/POVERTY NO 12-12-2023
N-FM/PAR N NEED - FAMILY/PARENTING NO 12-12-2023
N-M HLTH N NEED - MENTAL HEALTH NO 42-12-2023
N-MEDICL N NEED - MEDICAL NO 12-12-2023
N-RLFN NEED - REC/LEISURE/FITNESS NO 12-12-2023
N-SUB ABN NEED - SUBSTANCE ABUSE NO 12-12-2023
N-TRAUMA Y NEED - TRAUMA YES 12-12-2023
N-WORK N NEED - WORK NO 12-12-2023
R-LW LOW RISK RECIDIVISM LEVEL 12-12-2023

Progress since last review

He has been encouraged to take classes here at FCC Yazoo City. Unit Team will recommend the Inmate to enroll in a class that may assist him
reintegrating back into society.

Archived as of 12-14-2023

Individualized Needs Plan - Program Review (Inmate Copy) Page 4 of 6

Case 3:24-cv-00101-KHJ-MTP Document 1-2 Filed 02/20/24 Page 6 of 7

Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 01997892
Dept. of Justice / Federal Bureau of Prisons Team Date: 12-14-2023
Plan is for inmate: VORESS, JOSHUA LEE 73279-112

Next Program Review Goals

| Enroll in Criminal Thinking class or one that is equivalent to it by next Team.

Long Term Goals

Obtain a duplicate Social Security Card and a copy of your Birth Certificate. Complete the RPP classes. Enroll in Victim Impact, and Anger
Management. Complete at least one VT program of your chaice. Complete Criminal Thinking class prior to December 2024.

RRC/HC Placement

No.

Management decision - Will review 17-19 months from release date.

Consideration has been given for Five Factor Review (Second Chance Act):

- Facility Resources : There is available Residential Re-Entry Centers (RRC) in his release area.

- Offense : The offense details were considered.

- Prisoner : The prisoner's criminal histery and background were considered.

- Court Statement : The sentencing court did not make any statement on the judgment and commitment order regarding RRC placement.
- Sentencing Commission : There is no pertinent policy by the sentencing commission.

Refer to the comment section of you program review for any further information.

Comments >

Maintain an open line of communication with your friends and family through letter writing, telephone calls, emails, and visits as often as possible.

Archived as of 12-14-2023 individualized Needs Plan - Program Review (Inmate Copy) Page 5 of 6
Case 3:24-cv-00101-KHJ-MTP Document 1-2 Filed 02/20/24 Page 7 of 7

Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 01997892
Dept. of Justice / Federal Bureau of Prisons Team Date: 12-14-2023
Plan is for inmate: VORESS, JOSHUA LEE 73279-112
Name: VORESS, JOSHUA LEE DNA Status: LOS08289 / 03-21-2016
Register No.: 73279-112
Age: 47

Date of Birth: 05-22-1976

Inmate (VORESS, JOSHUA LEE. Register No.: 73279-112)

Date

Unit Manager / Chairperson Case Manager

Date Date

Archived as of 12-14-2023 Individualized Needs Plan - Program Review (Inmate Copy) Page 6 of 6
